                                                         Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 1 of 6



                                                     1 VERNON A. NELSON, JR., ESQ.
                                                       Nevada Bar No.: 6434
                                                     2 THE LAW OFFICE OF VERNON NELSON
                                                       9480 S. Eastern Ave., Ste. 244
                                                     3 Las Vegas, NV 89123
                                                       Tel.: 702-476-2500
                                                     4 Fax.: 702-476-2788
                                                       E-mail: vnelson@nelsonlawfirmlv.com
                                                     5 Attorneys for Plaintiff Linda Cox

                                                     6

                                                     7                               UNTIED STATES DISTRICT COURT

                                                     8                                     DISTRICT COURT NEVADA

                                                     9

                                                    10 LINDA COX,                                         Case No.: 2:16-cv-02914-APG-VCF

                                                    11                        Plaintiff,
THE LAW OFFICE OF VERNON NELSON




                                                    12 v.
                                                                                                          NOTICE OF APPEAL
                                                    13 RICHLAND HOLDINGS, INC. d/b/a
                                  ATTORNEY AT LAW




                                                       ACCTCORP OF SOUTHERN NEVADA, a
                                                    14 Nevada Corporation; PARKER &
                                                       EDWARDS, INC., a Nevada Corporation, and
                                                    15 The LANGSDALE LAW FIRM, P.C., a
                                                       Nevada Professional Corporation,
                                                    16
                                                                            Defendants.
                                                    17

                                                    18
                                                    19           Notice is hereby given that LINDA COX, Plaintiff in the above-named case, hereby appeals

                                                    20 to the United States Court of Appeals for the Ninth Circuit from the final judgment entered in this

                                                    21 action on the 1st day of April, 2019.

                                                    22           A Representation Statement pursuant to Circuit Rule 3-2(b) is attached to this Notice of

                                                    23 Appeal.

                                                    24 / / /

                                                    25 / / /

                                                    26 / / /

                                                    27 / / /

                                                    28 / / /
     Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 2 of 6



 1         DATED this 2nd day of April, 2019.

 2                                                    THE LAW OFFICE OF VERNON NELSON

 3                                          By:              /s/ Vernon Nelson
                                                      VERNON NELSON, ESQ.
 4                                                    Nevada Bar No.: 6434
                                                      9480 S. Eastern Avenue, Suite 244
 5                                                    Las Vegas, NV 89123
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                                                      E-Mail: vnelson@nelsonlawfirmlv.com
 7                                                    Attorneys for Plaintiff Linda Cox

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     Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 3 of 6



 1                                   CERTIFICATE OF SERVICE

 2           I, Jennifer Martinez, declare under penalty of perjury that on the 2nd day of April, 2019, I

 3 served copies of the Notice of Appeal by first class US mail and via electronic email to the person(s)

 4 named below at the address stated below for such person:

 5 Stephen J. Erigero, Esq.
   Timothy J. Lepore, Esq.
 6 ROPERS, MAJESKI, KOHN & BENTLEY
   3753 Howard Hughes Pkwy, Suite 200
 7
   Las Vegas, NV 89169
 8 Phone: 702-954-8300
   Email: stephen.erigero@rmkb.com
 9         timothy.lepore@rmkb.com
   Attorneys for The Langsdale Law Firm, P.C.
10
   Terry A. Coffing, Esq.
11
   Chad F. Clement, Esq.
12 Jared M. Moser, Esq.
   MARQUIS AURBACH COFFING
13 10001 Park Run Drive
   Las Vegas, NV 89145
14 Phone: 702-382-0711
   Email: tcoffing@maclaw.com
15
           cclement@maclaw.com
16         jmoser@maclaw.com
   Attorneys for AcctCorp and Parker & Edwards, Inc.
17
   I declare under penalty of perjury under the laws of the State of Nevada that the foregoing is a true
18 and correct statement and that this Certificate was executed on the aforementioned date above.
19

20

21                                                Signed: /s/Jennifer Martinez___
                                                        An employee of THE LAW OFFICE OF
22                                                      VERNON A. NELSON

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                                                         Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 4 of 6



                                                     1 VERNON A. NELSON, JR., ESQ.
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                                                     5 Attorneys for Plaintiff Linda Cox

                                                     6

                                                     7
                                                                                       UNTIED STATES DISTRICT COURT
                                                     8
                                                                                             DISTRICT COURT NEVADA
                                                     9

                                                    10
                                                         LINDA COX,                                        Case No.: 2:16-cv-02914-APG-VCF
                                                    11
THE LAW OFFICE OF VERNON NELSON




                                                                                Plaintiff,
                                                    12
                                                         v.
                                                    13                                                     STATEMENT OF REPRESENTATION
                                  ATTORNEY AT LAW




                                                       RICHLAND HOLDINGS, INC. d/b/a
                                                    14 ACCTCORP OF SOUTHERN NEVADA, a
                                                       Nevada Corporation; PARKER &
                                                    15 EDWARDS, INC., a Nevada Corporation, and
                                                       The LANGSDALE LAW FIRM, P.C., a
                                                    16 Nevada Professional Corporation,

                                                    17                          Defendants.

                                                    18
                                                    19
                                                                LINDA COX, Plaintiff in the above-named case, hereby furnishes the following list of all
                                                    20
                                                         parties to this action along with the names, addresses, telephone numbers, and e-mail addresses of
                                                    21
                                                         their respective counsel.
                                                    22
                                                                This Representation Statement is made in compliance with Circuit Rule 3-2(b).
                                                    23
                                                                Plaintiff LINDA COX is represented by:
                                                    24
                                                       VERNON A. NELSON, JR., ESQ.
                                                    25 THE LAW OFFICE OF VERNON NELSON
                                                       9480 S. Eastern Ave., Ste. 244
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                                                       Tel.: 702-476-2500
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                                                       E-mail: vnelson@nelsonlawfirmlv.com
                                                    28
     Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 5 of 6



 1         Defendant The LANGSDALE LAW FIRM, P.C., is represented by:

 2                       Stephen J. Erigero, Esq.
                         Timothy J. Lepore, Esq.
 3                       ROPERS, MAJESKI, KOHN & BENTLEY
                         3753 Howard Hughes Pkwy, Suite 200
 4
                         Las Vegas, NV 89169
 5                       Phone: 702-954-8300
                         Email: stephen.erigero@rmkb.com
 6                       timothy.lepore@rmkb.com

 7         Defendants ACCTCORP OF SOUTHERN NEVADA and PARKER & EDWARDS, INC.
 8 are represented by:

 9                       Terry A. Coffing, Esq.
                         Chad F. Clement, Esq.
10                       Jared M. Moser, Esq.
                         MARQUIS AURBACH COFFING
11                       10001 Park Run Drive
                         Las Vegas, NV 89145
12                       Phone: 702-382-0711
                         Email: tcoffing@maclaw.com
13                              cclement@maclaw.com
                                jmoser@maclaw.com
14

15 DATED this 2nd day of April, 2019.

16                                        THE LAW OFFICE OF VERNON NELSON
17                                        By:              /s/ Vernon Nelson
                                                    VERNON NELSON, ESQ.
18                                                  Nevada Bar No.: 6434
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21                                                  Attorneys for Plaintiff Linda Cox
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     Case 2:16-cv-02914-APG-VCF Document 135 Filed 04/02/19 Page 6 of 6



 1                                    CERTIFICATE OF SERVICE

 2           I, Jennifer Martinez, declare under penalty of perjury that on the 2nd day of April, 2019, I

 3 served copies of the Statement of Representation by first class US mail and via electronic email to the

 4 person(s) named below at the address stated below for such person:

 5 Stephen J. Erigero, Esq.
   Timothy J. Lepore, Esq.
 6 ROPERS, MAJESKI, KOHN & BENTLEY
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 7
   Las Vegas, NV 89169
 8 Phone: 702-954-8300
   Email: stephen.erigero@rmkb.com
 9         timothy.lepore@rmkb.com
   Attorneys for The Langsdale Law Firm, P.C.
10
   Terry A. Coffing, Esq.
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   Chad F. Clement, Esq.
12 Jared M. Moser, Esq.
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           cclement@maclaw.com
16         jmoser@maclaw.com
   Attorneys for AcctCorp and Parker & Edwards, Inc.
17
   I declare under penalty of perjury under the laws of the State of Nevada that the foregoing is a true
18 and correct statement and that this Certificate was executed on the aforementioned date above.
19

20

21                                                Signed: /s/Jennifer Martinez___
                                                        An employee of THE LAW OFFICE OF
22                                                      VERNON A. NELSON

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